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 4

 5                     IN THE UNITED STATES DISTRICT COURT

 6                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 7
                                         ) Case No.: CR.S. 14-206 JAM
 8   United States of America,           )
                                         ) WAIVER OF DEFENDANT’S PRESENCE
 9              Plaintiff,               ) [Fed.R.Crim. Pro. 43]
                                         )
10        vs.                            ) Court: Hon. Judge John A. Mendez
                                         )
11                                       )
     Richard O’Connell,                  )
12                                       )
                Defendant.
13

14

15
          Mr. O’Connell hereby waives the right to be present in person in
16
     open Court upon the hearing of any motion or other proceeding in this
17
     case, including, but not limited to, when the case is ordered set for
18
     trial, when a continuance is ordered, and when any other action is
19
     taken by the court before or after trial, except upon arraignment,
20
     initial appearance, plea, trial confirmation hearing, impanelment of
21
     jury, every trial stage including verdict, and imposition of sentence.
22
     The defendant hereby requests the Court to proceed during every
23
     absence of his which the Court may permit pursuant to this waiver,
24
     agrees that his interests will be deemed represented at all times by
25
     the presence of his attorney the same as if he were personally
26
     present, and further agrees to be present in Court and ready for trial
27
     any day and hour the Court may fix in his absence.
28




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 1             The defendant further acknowledges that he has been

 2   informed of his rights under 18 U.S.C. § 3161 – 3174 (the Speedy Trial

 3   Act), and authorizes her attorney to set times and delays under that

 4   act without his being present.      With the Court’s permission, Mr.

 5   O’Connell respectfully requests that this Court accept his waiver of

 6   appearance when the statute deems his presence inessential and this

 7   Court consents.     The reason for this request is that Mr. O’Connell is

 8   working full time and does not want to jeopardize his livelihood for

 9   court appearances where counsel may reasonably stand in to set dates

10   for inessential status conferences or other scheduling matters.

11
     Dated: November 14, 2014            Respectfully submitted,
12

13

14                                      __/s/ Shari Rusk___
                                        Shari Rusk
15                                      Attorney for Defendant
                                        Richard O’Connell
16

17                                      /s/ Richard O’Connell
                                        DEFENDANT
18                                      Richard O’Connell
19
                                        ORDER
20
          IT IS SO ORDERED.
21
     DATED: 11/17/2014
22

23
                                        /s/ John A. Mendez_________________
24
                                        Hon. Judge John A. Mendez
25                                      United States District Court Judge

26

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